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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )       Criminal No. 19-CR-10246-DPW
                                             )
FESNEL LAFORTUNE,                            )
                                             )
                       Defendant             )


  GOVERNMENT’S MOTION FOR A PRETRIAL CONFERENCE AND EXCLUSION OF
                 TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America, by and through Assistant United States Attorneys Leslie A.

Wright and Mark J. Balthazard, respectfully move this Court to set a pretrial conference and

exclude the time period from today, September 5, 2019, through and including the date of the

pretrial conference from the speedy trial clock, on the grounds that the ends of justice served by

granting the requested continuance and excluding this period outweigh the best interests of the

public and the defendant in a speedy trial. In support of this motion, the government states as

follows:

       1.       On July 8, 2019, the defendant was charged by complaint with one count of

conspiracy to commit bank fraud, in violation of Title 18, United States Code, Section 1349. (See

D.E. 1.)

       2.       The defendant made his initial appearance before Judge Hennessy on July 9, 2019.

On its own motion, the Court ordered the defendant detained pending a detention hearing set for

July 15, 2019. (See D.E. 9.)




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       3.       At the detention hearing on July 15, 2019, defense counsel requested that the Court

enter a voluntary order of detention. The Court allowed the request and thereafter entered an order

of detention. (See D.E. 13, 14.) The defendant remains detained.

       4.       On July 18, 2019, a grand jury sitting in the District of Massachusetts returned an

indictment charging the defendant with one count of conspiracy to commit bank fraud, in violation

of Title 18, United States Code, Section 1349, and one count of aggravated identity theft, in

violation of Title 18, United States Code, Section 1028A(a)(1). (See D.E. 18.)

       5.       The defendant was arraigned on July 23, 2019 and entered a plea of not guilty to

both counts of the indictment. Judge Hennessy set a deadline for automatic discovery of August

20, 2019 and scheduled an initial status conference for September 5, 2019. Over the defendant’s

objection, Judge Hennessy entered an order excluding the time from the defendant’s arraignment

through the date of the initial status conference. (See D.E. 21–24.)

       6.       The government produced automatic discovery, subject to the provisions of the

protective order entered by Judge Hennessy (see D.E. 27), on August 20, 2019. The government

produced supplementary discovery materials on August 26, 2019. Limited additional discovery

will be produced over the coming weeks.

       7.       The initial status conference was held today, September 5, 2019. During the

conference, defense counsel indicated that the defendant requests a trial as soon as possible, does

not anticipate filing any pretrial motions, and objects to any additional periods of excludable delay.

Judge Hennessy has thus returned the case to this Court. (See D.E. 30, 31.)

       Wherefore, the government respectfully requests that this Court set a pretrial conference

and exclude the time period from today, September 5, 2019, through and including the date of the

pretrial conference from the speedy trial clock, on the grounds that the ends of justice served by



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granting the requested continuance and excluding this period outweigh the best interests of the

public and the defendant in a speedy trial. The government has conferred with defense counsel

regarding this request, and while the defendant assents to the scheduling of a pretrial conference,

he objects to the exclusion of time.



                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                                By: /s/ Leslie A. Wright
                                                    LESLIE A. WRIGHT
                                                    MARK J. BALTHAZARD
                                                    Assistant United States Attorneys




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants identified on the Notice of Electronic Filing (NEF).


Dated: September 5, 2019                             By:     /s/ Leslie A. Wright
                                                             LESLIE A. WRIGHT
                                                             Assistant United States Attorney




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